                       Case 1:16-cr-00018-JEG-CFB Document 264 Filed 08/23/17 Page 1 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                      6KHHW 



                                            81,7(' 67$7(6 ',675,&7 &2857
                                                      SOUTHERN DISTRICT OF IOWA
                                                                         
               81,7(' 67$7(6 2) $0(5,&$                                         JUDGMENT IN A CRIMINAL CASE
                                   v.                                    
                                                                         
                    Michael David Redmond Jr.
                                                                                &DVH 1XPEHU 1:16-cr-00018-002
                                                                                860 1XPEHU 17456-030
                                                                         
                                                                                Mary C. Gryva
                                                                                 'HIHQGDQW¶V $WWRUQH\
THE DEFENDANT:
✔SOHDGHG JXLOW\ WR FRXQWV
G                                        One of the Second Superseding Indictment filed on March 28, 2017.
G SOHDGHG QROR FRQWHQGHUH WR FRXQWV
     ZKLFK ZDV DFFHSWHG E\ WKH FRXUW
G ZDV IRXQG JXLOW\ RQ FRXQWV
     DIWHU D SOHD RI QRW JXLOW\

7KH GHIHQGDQW LV DGMXGLFDWHG JXLOW\ RI WKHVH RIIHQVHV

Title & Section        ?           Nature of Offense                                                      Offense Ended              Count

 21 U.S.C. §§ 841(a)(1),            Conspiracy to Distribute at Least 400 Grams or More of a               4/2016                     One

 841(b)(1)(A), 846                  Mixture or Substance Containing Fentanyl or 100 Grams or

                                    More of a Mixture or Substance Containing Acetyl Fentanyl




     See additional count(s) on page 2


      7KH GHIHQGDQW LV VHQWHQFHG DV SURYLGHG LQ SDJHV 2 WKURXJK 7            RI WKLV MXGJPHQW The sentence is impRVHG SXUVXDQW Wo the
6HQWHQFLQJ 5HIRUP $FW RI 
G 7KH GHIHQGDQW KDV EHHQ IRXQG QRW JXLOW\ RQ FRXQWV
G &RXQWV                                               G LV     G DUH dismiVVHG RQ WKH PRWLRQ RI WKH 8QLWHG 6WDWHV
         ,W LV RUGHUHG WKDW WKH GHIHQGDQW PXVW QRWLI\ WKH 8QLWHG6WDWHV DWWRUQH\ IRU WKLV GLVWULFW ZLWKLQ  GD\V RI DQ\ FKDQJH RI QDme UHVLGHQFH
RU PDLOLQJ DGGUHVV XQWLO DOO ILQHV UHVWLWXWLRQ FRVWV DQG VSHFLDO DVVHVVPHQWV LPSRVHG E\ WKLV MXGJPHQW DUH IXOO\ SDLG If RUGHUHG WR SD\ UHVWLWXWLRQ
WKH GHIHQGDQW PXVW QRWLI\ WKH FRXUW DQG 8QLWHG 6WDWHV DWWRUQH\ RI PDWHULDO FKDQJHV LQ HFRQRPLF FLUFXPVWDQFHV

                                                                        August 23, 2017
                                                                         'DWH RI ,PSRVLWLRQ RI -XGJPHQW




                                                                         Signature of Judge


                                                                        James E. Gritzner, Senior U.S. District Judge
                                                                         1DPH RI -XGJH                              7LWOH RI -XGJH


                                                                        8/23/2017
                                                                         'DWH
                     Case 1:16-cr-00018-JEG-CFB Document 264 Filed 08/23/17 Page 2 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 2 — Imprisonment

                                                                                                                Judgment Page: 2 of 7
 DEFENDANT: Michael David Redmond Jr.
 CASE NUMBER: 1:16-cr-00018-002


                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  120 months as to Count One of the Second Superseding Indictment filed on March 28, 2017.




     ✔
     G    The court makes the following recommendations to the Bureau of Prisons:

  The defendant be placed at FPC Yankton, or alternatively at a facility close to his family in Iowa, if commensurate with his
  security and classification needs; and that he be made eligible for the 500-hour residential drug abuse program (RDAP), or
  alternatively a similar drug treatment program.

     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
          G at                                     G a m.      G p m.       on

          G as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before                   on

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                         to

 a                                                  , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
Case 1:16-cr-00018-JEG-CFB Document 264 Filed 08/23/17 Page 3 of 7
                      Case 1:16-cr-00018-JEG-CFB Document 264 Filed 08/23/17 Page 4 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 3 — Supervised Release

                                                                                                                     Judgment Page: 4 of 7
 DEFENDANT: Michael David Redmond Jr.
 CASE NUMBER: 1:16-cr-00018-002


                                        STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
 4.    You must answer truthfully the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. I understand additional information regarding these conditions is available at the www.uscourts.gov.


 Defendant's Signature                                                                                    Date
                    Case 1:16-cr-00018-JEG-CFB Document 264 Filed 08/23/17 Page 5 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 3C — Supervised Release

                                                                                                      Judgment Page: 5 of 7
DEFENDANT: Michael David Redmond Jr.
CASE NUMBER: 1:16-cr-00018-002

                                         SPECIAL CONDITIONS OF SUPERVISION
  You must participate in a program of testing and/or treatment for substance abuse, as directed by the Probation Officer,
  until such time as the defendant is released from the program by the Probation Office. At the direction of the probation
  office, you must receive a substance abuse evaluation and participate in inpatient and/or outpatient treatment, as
  recommended. Participation may also include compliance with a medication regimen. You will contribute to the costs of
  services rendered (co-payment) based on ability to pay or availability of third party payment. You must not use alcohol
  and/or other intoxicants during the course of supervision.

  You must not patronize business establishments where more than fifty percent of the revenue is derived from the sale of
  alcoholic beverages.

  You must submit to a mental health evaluation. If treatment is recommended, you must participate in an approved
  treatment program and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient
  treatment and/or compliance with a medication regimen. You will contribute to the costs of services rendered
  (co-payment) based on ability to pay or availability of third party payment.

  You will submit to a search of your person, property, residence, adjacent structures, office, vehicle, papers, computers (as
  defined in 18 U.S.C. § 1030(e)(1)), and other electronic communications or data storage devices or media, conducted by a
  U.S. Probation Officer. Failure to submit to a search may be grounds for revocation. You must warn any other residents
  or occupants that the premises and/or vehicle may be subject to searches pursuant to this condition. An officer may
  conduct a search pursuant to this condition only when reasonable suspicion exists that you have violated a condition of
  your release and/or that the area(s) or item(s) to be searched contain evidence of this violation or contain contraband. Any
  search must be conducted at a reasonable time and in a reasonable manner. This condition may be invoked with or
  without the assistance of law enforcement, including the U.S. Marshals Service.
Case 1:16-cr-00018-JEG-CFB Document 264 Filed 08/23/17 Page 6 of 7
Case 1:16-cr-00018-JEG-CFB Document 264 Filed 08/23/17 Page 7 of 7
